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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
__________________________________________
 VIVIAN PATZ and MICHAEL PATZ,             )
                                           )
                  Plaintiffs,              ) Civil Action No.: 2:17-cv-03465
      v.                                   )
                                           )
 SUREWAY SUPERMARKET, et al.               ) Judge Susie Morgan
                                           ) Magistrate Janis van Meerveld
                 Defendants.               )
 _________________________________________ )


                               NOTICE OF SUBMISSION

      PLEASE TAKE NOTICE that the Plaintiffs will submit for consideration their

Motion for Summary Judgment on December 12, 2018.

                                       Respectfully submitted,

                                       VIVIAN PATZ and MICHAEL PATZ,

                                       /s/ William Most__________
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                             CERTIFICATE OF SERVICE

       I hereby certify that on November 26, 2018, a copy of the Plaintiff’s Notice of

Submission was filed electronically with the Clerk of Court via the CM/ECF system.

Notice of this filing will be sent to all counsel of record by operation of the court’s

electronic filing system.


                                            _/s/ William Most____________
                                               William Most
